In the Matter of the Disciplinary Appeal
Of Shannon Lewandowski

RE: FPC Disciplinary Appeal - Shannon Lewandowski
    MPD P.O. Box 2015-150



                        APPELLANT SHANNON LEWANDOWSKI'S
                       MOTION FOR A MORE DEFINITE STATEMENT




        Shannon Lewandowski, by her attorneys Gimbel, Reilly, Guerin & Brown LLP,

respectfully moves the Fire & Police Commission for an order requiring the Milwaukee Police

Department to provide a more definite statement of the charges (a Bill of Particulars) against

Detective Lewandowski, specifically stating the act(s) which are alleged to be violations of the

Department's Code of Conduct.

                                          BACKGROUND

        On January 19, 2015, Detective Shannon Lewandowski and Detective Juanita Carr were

both on duty during the power shift, which began at 8:00 p.m. and was scheduled to end at

4:00 a.m. During the shift, Milwaukee police responded to an accidental, self-inflicted shooting at

4257 North Teutonia Avenue.

        At or about 2:00 a.m., Carr was directed to attempt a consent search of the home where

the man who had accidentally shot himself lived. Lewandowski volunteered to accompany Carr

for the search, but told Carr that she first had to stop at the District 5 Police Station to speak with

Police Officer (now Detective) Beasley, who feared for her safety at the hands of certain TEU

officers at District 5. Detective Carr agreed to Lewandowski's request, and the two detectives left

the police station.    Detective Lewandowski drove the squad assigned to Carr. Carr and




       Case 2:16-cv-01089-WED Filed 04/22/19 Page 1 of 39 Document 80-18
Lewandowski traveled eastbound on North Avenue. As they did, Lewandowski-who refuses

to use her cell phone while driving-handed her phone to Carr and asked Carr to look up Beasley

in her phone. As they approached the intersection of 35th and North, Detective Lewandowski

noticed a car at the side of the road that she was afraid was preparing to pull out in front of her,

causing an accident. To attract the driver's attention, Lewandowski activated her squad's lights

and may have chirped the sirens. Carr, at that point, was looking down at Lewandowski's phone.

After passing the vehicle, Lewandowski and Carr entered the intersection of 35th and North. The

light was green for the detectives. At the same moment, an intoxicated motorist speeding

northbound on 35th Street toward North A venue entered the intersection against a red light.l The

intoxicated motorist sped through the red light and collided with the detectives' squad, causing

severe injuries to both detectives, including a traumatic brain injury to Lewandowski.

Lewwandowski' s injuries included: Cervical Musculoligamentous, a neck injury that causes

delayed speech and memory loss; a concussion; 3-4 minutes of loss of consciousness; whiplash; a

sprained right ankle; a torn ankle ligament; bruising and swelling.

          The impaired driver was cited for the five following offenses:

                   1. Cause Injury/ Operating While Intoxicated, a violation of state
                      statue 346.63(2)(a).
                   2. Failure to Obey Sign or Signal, a violation of state statue
                      346.37(1)(c)3.
                   3. Operating After Suspension, a violation of ordinance 101-1-2.
                   4. Operating a Motor Vehicle Without Insurance, a violation of
                      ordinance 101-1.
                   5. Operating After Revocation/ suspension of Registration, a
                      violation of ordinance 101-1-2.

          The subsequent investigation into the accident also resulted in three charges being levied

against Lewandowski, and her subsequent termination from the Milwaukee Police Deparhnent.



1   The driver, who had multiple arrest warrants was legally impaired and tested positive for narcotics.



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          Case 2:16-cv-01089-WED Filed 04/22/19 Page 2 of 39 Document 80-18
    I.   A MORE DEFINITE STATEMENT IS APPROPRIATE WHERE SHANNON
         LEWANDOWSKI CANNOT REASONABLY PREPARE A DEFENSE BECAUSE THE
         ALLEGATIONS AGAINST HER FAIL TO IDENTIFY HOW HER ALLEGED
         CONDUCT VIOLATED DEPARTMENT RULES.

         Detective Shannon Lewandowski is alleged to have violated three provisions of the

Milwaukee Police Department's Code of Conduct. They are:

                1.      Core Value 1.00- Competence, referencing Guiding Principle 1.03: Failure
                        to use time to accomplish the mission of the department.

                2.      Core Value 1.00 - Competence, referencing Guiding Principle 1.05,
                        referencing Standard Operating Procedures relating to Department
                        Owned Vehicles and Property, Section 640.15(A)(2): Failure to operate a
                        department vehicle in a safe manner.

                3.      Core Value 3.00- Integrity, referencing Guiding Principle 3.10: Failure to
                        be forthright and candid in connection with any administrative inquiry or
                        report.

         For the alleged failure to use time to accomplish the mission of the Department, Detective

Lewandowski was suspended for five (5) days without pay. For the alleged failure to operate a

Department vehicle in a safe manner, Lewandowski was suspended for thirty (30) days without

pay.     For the alleged integrity violation, Detective Lewandowski was discharged from the

Department.

         Fed. R. Crim. P. 7(f) provides, in part, that "[t]he court may direct the filing of a bill of

particulars." The decision whether to grant or deny a bill of particulars is committed to the sound

discretion of the trial court. Wong Tai v. United States, 273 U.S. 77,82 (1927); United States v. Burgin,

621 F.2d 1352, 1358 (5th Cir.), cert. denied, 449 U.S. 1015 (1980). The general purposes of a bill of

particulars are to inform the accused of the charges against her with sufficient precision to:

(1) enable her to prepare her defense, (2) obviate surprise at the hearing, and (3) enable her to

plead her case so as to bar any subsequent allegations pertaining to the same offense. United

States v. Davis, 582 F.2d 947, 951 (5th Cir. 1978), cert. denied, 441 U.S. 962 (1979). While these legal



                                                    3
         Case 2:16-cv-01089-WED Filed 04/22/19 Page 3 of 39 Document 80-18
authorities are not binding on the Milwaukee Fire and Police Commission, they should be

persuasive. Moreover, the policy reasons underlying these authorities is directly applicable to

this appeal.

       The charges against Lewandowski are ambiguous, are not supported by the facts, and fail

to specify which act or acts are alleged to have violated the Milwaukee Police Department's Code

of Conduct. Accordingly, Lewandowski respectfully moves the Fire & Police Commission for

an order requiring the Milwaukee Police Department to provide a more definite statement of the

charges setting forth precisely how and when she violated the Code of Conduct. Without such

an order, Lewandowski is not able to appropriately and reasonably address the allegations which

provide the basis for her termination.

                   A. The Charge That Lewandowski Failed to Operate a Department Vehicle
                      in a Safe Manner is Vague, Ambiguous, and Fails to Allege any Act by
                      Lewandowski That Was Unsafe, Discourteous, or in Violation of a
                      Traffic Law.

       Lewandowski is charged with failing to operate the vehicle in a safe and courteous

manner while complying with all traffic laws. In support of that charge, the Department alleges

that she activated the emergency lights and siren to prevent a vehicle from pulling out and

striking her vehicle, and that she turned off the siren, but thought she left the emergency lights

on. Turning on the lights to avoid an accident is not a failure to operate the vehicle in a safe and

courteous manner, nor is it a violation of any traffic law. The lights are, by definition, safety

equipment whose primary purpose is to improve safety by drawing the attention of bystanders.

       The charge further provides that the Department vehicle was determined to be "totaled."

Notably missing from the charge is the fact that the accident was caused by a speeding drunk

driver who blew through a red light. The charge against Lewandowski does not cite a single law

allegedly violated by Lewandowski. It does not even state what part of Lewandowski's conduct



                                                 4
       Case 2:16-cv-01089-WED Filed 04/22/19 Page 4 of 39 Document 80-18
was allegedly unsafe, discourteous, or illegal. Witnesses to the accident expressly refute the

notion that Lewandowski did anything wrong:

                 Ms. Hernandez described the squad was traveling about 30 to 35
                 miles per hour as it approached the intersection and collided with
                 the vehicle traveling north on North 35th Street at approximately 40
                 to 45 miles per hour. Ms. Hernandez indicated the accident was
                 caused by the white colored vehicle failing to stop for the red light.
                 (2015 09 09 Memo to Brunson, page 4).

       This charge alleges that Lewandowski violated the Code of Conduct by failing to operate

the vehicle in a safe and courteous manner and/ or in compliance with traffic laws, but does not

say how. Lewandowski cannot defend herself against a charge that fails to allege any specific,

wrongful, act.

       Accordingly, Lewandowski respectfully moves the Fire & Police Commission for an order

requiring the Milwaukee Police Department to provide a more definite statement of the charge

that she failed to operate the vehicle in a safe and courteous manner and/ or in compliance with

traffic laws setting forth the specific act or acts which allegedly violated the Department's Code

of Conduct.

           B. The Charge That Lewandowski Failed to Use Time to Accomplish the Mission
              of the Department by Responding to a Request for Help From a Fellow Police
              Officer who Feared for her Safety is Vague, Ambiguous and Fails to Set Forth
              Facts Demonstrating any Violation of the Code of Conduct.

       Lewandowski is charged with failing to render service to the community promptly and

efficiently. Detective Carr was allegedly assigned the task of returning to the scene of an

accidental, self-inflicted shooting at 4257 North Teutonia Avenue to conduct a consent search for

the firearm used in the shooting. Lewandowski volunteered to accompany Carr for the purpose

of providing backup, but told Carr that she first had to stop at District 5 to assist a female police

officer who feared for her safety. Carr agreed, and the two detectives were on their way to

District 5 when the impaired driver collided with them.


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       Case 2:16-cv-01089-WED Filed 04/22/19 Page 5 of 39 Document 80-18
       The charge alleges that Lewandowski failed to use her time to accomplish the mission of

the Department; however, it fails to assert how her act was a violation of the Code of Conduct.

Perhaps it is because, as the charging document states, Lewandowski was going to District 5 to

help an officer with a "personal issue." Officer Beasley's "personal issue" was that she had been

sexually assaulted by a member of the Milwaukee Police Department's TEU and due to the

threatening presence of other TEU officers at District 5, she feared for her safety. It is in this

factual context that the Department has charged Lewandowski with violating the Code of

Conduct's directive that Department members use their time to accomplish the mission of the

Department.     The charge, as it stands, does not allege whether the violation was that she

responded to Officer Beasley's request for assistance, or whether Lewandowski handled some

other so-called "personal issue" while on duty.       Finally, the charge does not allege how

responding to an officer's request for help, pursuant to training received by Lewandowski and

others, fails to accomplish the mission of the Department.

       Accordingly, Lewandowski respectfully moves the Fire & Police Commission for an order

requiring the Milwaukee Police Department to provide a more definite statement of the charge

that Lewandowski failed to render service to the community promptly and efficiently and that

she failed to use her time to accomplish the mission of the Department setting forth the specific

act or acts which allegedly violated the Department's Code of Conduct with respect to this charge.

           C. The Charge That Lewandowski Failed to be Forthright and Candid in
              Connection With any Administrative Inquiry or Report is Vague, Ambiguous,
              and Fails to Allege With Particularity any Act in Violation of the Code of
              Conduct.

       Lewandowski is charged with failing to be forthright and candid in connection with an

administrative inquiry. It is unclear from the charges what she failed to be forthright or candid

about. Lewandowski and Carr both stated that they were on their way to District 5 when the




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       Case 2:16-cv-01089-WED Filed 04/22/19 Page 6 of 39 Document 80-18
accident occurred. Beasley "acknowledged she intended to meet Detective Lewandowski at

District 5 at about the time the accident had occurred." (2015 09 09 Memo at p. 13). Beasley's

partner, Officer Gross, also stated that he and Beasley left 4257 North Teutonia Avenue for

District 5 so Officer Beasley could talk to a detective (presumably Lewandowski).

       Following the accident, Lewandowski was, in the words of the officers present,

"incoherent." When the drunk driver collided with the squad, Lewandowski violently struck her

head against the vehicle's gun rack, knocking her unconscious. When she recovered

consciousness, she began screaming for her son. She said she had to go get her son. She told

strangers to call her son. She told officers her son was at the UWM police station, and asked the

officers to go get him. The officers went to UWM, but, contrary to what Lewandowski said

immediately following the accident, her son was not with the UWM Police, nor was he at the

UWM Police Department. After numerous calls to his phone by the Milwaukee Police officers

who went looking for Jordan, they finally got a hold of him.

       As a result of the collision with the impaired driver, Lewandowski was badly injured,

confused, and incoherent. She knew her son had been pulled over somewhere near UWM

campus, but she did not know where he was. She was not being dishonest about anything at the

scene. She was badly injured and wanted her son informed of the accident and brought to the

hospital. As her statements at the scene demonstrate, she did not know where he was.

       The charging documents do not allege how Lewandowski failed to be forthright or

candid. They don't say when she lied, or even what statement(s) contained lies. Lewandowski

cannot prepare a defense against an allegation that simply sets out a series of alleged facts, and

then adds a bare conclusion. Accordingly, Lewandowski respectfully moves the Fire & Police

Commission for an order requiring the Milwaukee Police Department to provide a more definite

statement of the charge that she failed to be forthright and candid in connection with any


                                                7
       Case 2:16-cv-01089-WED Filed 04/22/19 Page 7 of 39 Document 80-18
administrative inquiry setting forth the specific act or acts which allegedly violated the

Deparhnent' s Code of Conduct. What was it that she lied about? When did the alleged lie occur?

What is the truth proving the lie? Without knowing what is alleged, Lewandowski is asked to

defend a moving target. This is neither fair nor proper, and the Deparhnent should be required

to provide a more definite statement as to the allegations against Lewandowski.

           Dated this     ~y of April, 2016.                                         ,



                                                                  By:


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                                                                 8
         Case 2:16-cv-01089-WED Filed 04/22/19 Page 8 of 39 Document 80-18
Case 2:16-cv-01089-WED Filed 04/22/19 Page 9 of 39 Document 80-18
Case 2:16-cv-01089-WED Filed 04/22/19 Page 10 of 39 Document 80-18
Case 2:16-cv-01089-WED Filed 04/22/19 Page 11 of 39 Document 80-18
Case 2:16-cv-01089-WED Filed 04/22/19 Page 12 of 39 Document 80-18
Case 2:16-cv-01089-WED Filed 04/22/19 Page 13 of 39 Document 80-18
Case 2:16-cv-01089-WED Filed 04/22/19 Page 14 of 39 Document 80-18
Case 2:16-cv-01089-WED Filed 04/22/19 Page 15 of 39 Document 80-18
Case 2:16-cv-01089-WED Filed 04/22/19 Page 16 of 39 Document 80-18
Case 2:16-cv-01089-WED Filed 04/22/19 Page 17 of 39 Document 80-18
Case 2:16-cv-01089-WED Filed 04/22/19 Page 18 of 39 Document 80-18
Case 2:16-cv-01089-WED Filed 04/22/19 Page 19 of 39 Document 80-18
In the Matter of the Disciplinary Appeal
Of Shannon Lewandowski

RE: FPC Disciplinary Appeal - Shannon Lewandowski
    MPD Personnel Order No. 2015-150



                        APPELLANT SHANNON LEWANDOWSKI'S
                               MOTION TO SUPPRESS




       Appellant, Shannon Lewandowski (Lewandowski), by her attorneys Gimbel, Reilly,

Guerin & Brown LLP, respectfully moves the Fire & Police Commission for a motion to suppress

any statements made by Lewandowski prior to April9, 2015, because they were taken in violation

of NLRB v. Weingarten, Inc. and Wis. Stat. section 164.02, and the Milwaukee Police Department's

Rules, Regulations and Standard Operating Procedure (SOP).

                                        BACKGROUND

       On January 19, 2015, Detective Shannon Lewandowski and Detective Juanita Carr (Carr)

were both on duty during the power shift, which began at 8:00p.m. and was scheduled to end at

4:00 a.m. During that shift, Milwaukee police responded to an accidental, self-inflicted shooting

at 4257 North Teutonia A venue.

       At some point during the shift, Carr's supervisor, Lt. Sean Hanley (Hanley) directed her

to attempt a consent search of the home where the man who had accidentally shot himself lived.

Lewandowski volunteered to accompany Carr for the search, but told Carr that she first had to

stop at the District 5 Police Station to speak with Police Officer (now Detective) Beasley, who

feared for her safety at the hands of certain TEU officers at District 5. Detective Carr agreed to

Lewandowski's request, and the two detectives left District 3. Detective Lewandowski drove the

unmarked squad car and traveled eastbound on North A venue. As they drove, Lewandowski-


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       Case 2:16-cv-01089-WED Filed 04/22/19 Page 20 of 39 Document 80-18
who refuses to use her cell phone while driving-handed her phone to Carr and asked Carr to

look up Beasley's contact information in her phone. As they approached the intersection of 35th

Street and North Avenue, Lewandowski noticed a car at the side of the road that she was afraid

was preparing to pull out in front of her, causing an accident. To attract the driver's attention,

Lewandowski activated her squad car's lights and may have chirped the sirens. Carr, at that

point, was looking down at Lewandowski's phone. After passing the vehicle, Lewandowski and

Carr entered the intersection of 35th Sh·eet and North Avenue. The stoplight at that intersection

was green for the detectives. At the same moment, an intoxicated motorist speeding northbound

on 35th Street toward North Avenue entered the intersection against a red light.l The intoxicated

motorist sped through the red light and collided with the detectives' squad car, causing severe

injuries to both detectives, including a traumatic brain injury to Lewandowski. Lewandowski's

injuries included: Cervical Musculoligamentous, a neck injury that causes delayed speech and

memory loss; a concussion; 3-4 minutes of loss of consciousness; whiplash; a sprained right ankle;

a torn ankle ligament; bruising and swelling. (See Exhibit 1 - Medical records of Shannon

Lewandowski.)

          Shortly after arriving on the scene of the accident, Carr and Lewandowski's supervisor,

Lt. Hanley, contacted Detectives Kenyatte Wooden and Troy Johnson and insh·ucted them to

come to the scene of the accident for witness interviews. Hanley reported that he "did this

because the possibility of serious injuries to the detectives involved in the accident and the need

for detailed interviews due to the possibility of violations of Rules and Regulations and SOP."

(See Exhibit 2- Milwaukee Police Deparhnent Incident Report Prepared by Lt. Sean Hanley, MPD

Bates nos. 180-185 at 184 (emphasis added).)



1   The driver, who had multiple arrest warrants was legally impaired and tested positive for narcotics.


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         Case 2:16-cv-01089-WED Filed 04/22/19 Page 21 of 39 Document 80-18
       In:unediately after being discharged from the hospital at approximately 6:38 a.m. on

January 19, 2015, Lewandowski checked in via telephone with Hanley, as she had not spoken to

him subsequent to the accident. Over the course of this seven minute conversation, Hanley asked

Lewandowski several questions about her role in the accident that occurred earlier that morning.

Lewandowski was never informed by Hanley, or anyone else, that her actions were subject to an

Internal Affairs Division investigation, that there was potential for disciplinary action against her,

that if she refused to cooperate or answer questions that disciplinary actions could be taken

against her, or that she could have a representative of her choice present at the questioning.

       Hanley later reported the information he obtained in this interrogation to Sgt. Adam

Zieger, who utilized this information in the investigative report that he prepared. (See Exhibit 3

-September 9, 2015 Milwaukee Police Department Memorandum from Zieger to Brunson, MPD

Bates nos. 0233-0254 (and elsewhere) at 0239, 0248-0249). It was not until April 8, 2015 that

Lewandowski was presented with a formal form PI-21 by the Internal Affairs Division of the

Milwaukee Police Department and informed of her rights, as specified in Wis. Stat. sections 164.02

and 111.70(2). (See Exhibit 4- PI-21 of Detective Shannon Lewandowski.)

       The investigation into the accident resulted in three charges being levied against

Lewandowski, and her subsequent termination from the Milwaukee Police Department.

Because Hanley initiated an internal investigation of possible rule violations by Lewandowski,

and shortly thereafter interrogated her during a telephone conversation without first informing

Lewandowski of her Wis. Stat. section 164.02 rights, Lewandowski's statements to Hanley should

be suppressed.




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      Case 2:16-cv-01089-WED Filed 04/22/19 Page 22 of 39 Document 80-18
                                              ARGUMENT
           I.        SHANNON LEWANDOWSKI'S FEBRUARY 19, 2015 STATEMENTS
                     SHOULD BE SUPPRESSED BECAUSE THEY WERE TAKEN IN
                     VIOLATION OF NLRB V. WEINGARTEN, INC. AND WIS. STAT.
                     SECTION 164.02.
           In NLRB v. Weingarten, Inc., the United States Supreme Court held that employees have a
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     right of union representation at investigatory interview which the employee reasonably believes

may result in disciplinary action against him." 420 U.S. 251 (1975). Wisconsin has codified the

provisions of NLRB v. Weingarten, Inc. with regard to law enforcement officers at Wis. Stat. section

164.02.         This statute states that law enforcement officers under investigation for internal

department rule violations are entitled to: (1) be informed of the nature of the investigation prior

to interrogation, and (2) be provided a representative should the officer request one, Wis. Stat.

section 164.02(1)(a)-(b). Any evidence obtained without compliance with the rules must be

suppressed per Wis. Stat. section 164.02(2). In Slawinski v. Milwaukee City Fire and Police Com'n,

the Wisconsin Supreme Court held that when a department fails to warn an officer of potential

discipline before an interrogation, no evidence obtained from the interrogation may be used

against an officer. 212 Wis. 2d 777 (1997). The City of Milwaukee's policy is to inform an officer

of his or her rights, as explained in Weingarten, Slawinski, and Wis. Stat. section 164.02 in what is

called a PI-21 form. The PI-21 form is to be given to all law enforcement officers prior to an

internal interrogation.

                     A. The conversation on the morning of January 19, 2015 between
                        Lewandowski and Hanley constituted an interrogation for Wis. Stat.
                        section 164.02 purposes.
           The United States Supreme Court has defined an interrogation as "express questioning or

its functional equivalent." Rhode Island v. Innis, 446 U.S. 291, 300-01 (1980). This means "any

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words or actions" by the investigator that the investigator should know are reasonably likely to

elicit an incriminating response" by the suspect constitutes an interrogation. Id. Prior to speaking

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          Case 2:16-cv-01089-WED Filed 04/22/19 Page 23 of 39 Document 80-18
with Lewandowski, Hanley sought assistance from Detectives Wooden and Johnson to come to

the scene for witness interviews. In his incident report concerning the events of January 19,2015,

Hanley reported that he contacted these detectives "because the possibility of serious injuries to

the detectives involved in the accident and the need for detailed interviews due to the possibility

of violations of Rules and Regulations and SOP." (See Exhibit 2.)               Hanley sought the

intervention of detectives Wooden and Johnson to address the possibility of violations of Rules,

Regulations, and SOP almost immediately after reporting to the scene of the accident. Several

hours later, when Lewandowski called to check in with Hanley, he used that opportunity to

interrogate her, delve into the internal investigation and question her about the events leading

up to the accident. This is clearly an interrogation, as Hanley was obviously asking Lewandowski

about her conduct to determine whether she violated any department rules, regulations or SOP.

               B. Lewandowski's rights were violated when the Milwaukee Police
                  Department failed to present her with a PI-21 form prior to the
                  February 19,2015 interrogation.

       Wis. Stat. section 164.02(1) requires that law enforcement officers under investigation and

subject to interrogation for any reason that could lead to disciplinary action, demotion, dismissal,

or criminal charges are entitled to: (1) be informed of the nature of the investigation prior to

interrogation; and (2) be given the right to a representative during the course of the interrogation.

Wis. Stat. section 164.02(2) goes on to state that any evidence obtained in any investigation that is

not conducted in accordance with Wis. Stat. section 164.02(1) may not be used in any subsequent

disciplinary proceeding against the law enforcement officer.


       In the current case, Hanley had already taken it upon himself to commence an internal

investigation into the actions of Lewandowski (and Carr, for that matter) by bringing detectives

to the scene of the accident to conduct "detailed interviews due to the possibility of violations of

Rules and Regulations and SOP" committed by Lewandowski (and Carr) before he spoke with

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       Case 2:16-cv-01089-WED Filed 04/22/19 Page 24 of 39 Document 80-18
Lewandowski on the telephone. (See Exhibit 2.) Lewandowski called to check in with her

supervisor at approximately 6:38 a.m. on January 19, 2015, and instead of inquiring about the

physical, mental, or emotional condition of one of his detectives who had just experienced a

traumatic experience, Hanley took it upon himself to advance the internal investigation that he

had previously commenced by interrogating Lewandowski, who was still in a fragile state just

hours after the accident.    Prior to conducting this interrogation of Lewandowski, Hanley

neglected to provide Lewandowski with any of the information required by section 164.02 or

internal Milwaukee Police Department Rules, Procedures, or SOP. Hanley later reported the

information he obtained in this interrogation to Sgt. Adam Zieger, who utilized this information

in the investigative report that he prepared. (See Exhibit 4.) Lewandowski was not formally

provided with a PI-21 form and informed of her rights until April 8, 2015, almost four months

after the initial interrogation conducted by Hanley

                                         CONCLUSION

       Because Hanley initiated an investigation into possible violations of department rules,

regulations, or SOP shortly after he arrived on the scene of the accident on January 19, 2015, and

later conducted an interrogation of Lewandowski in violation of Wis. Stat. section 164.02 and

Milwaukee Police Department Rules, Regulations, and SOP, any statements obtained from

Lewandowski prior to April 8, 2015 should be suppressed and declared inadmissible in these.

proceedings.




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       Case 2:16-cv-01089-WED Filed 04/22/19 Page 25 of 39 Document 80-18
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    Dated this      l \ ~ay of April, 2016.



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                                                 7

            Case 2:16-cv-01089-WED Filed 04/22/19 Page 26 of 39 Document 80-18
Case 2:16-cv-01089-WED Filed 04/22/19 Page 27 of 39 Document 80-18
Case 2:16-cv-01089-WED Filed 04/22/19 Page 28 of 39 Document 80-18
Case 2:16-cv-01089-WED Filed 04/22/19 Page 29 of 39 Document 80-18
Case 2:16-cv-01089-WED Filed 04/22/19 Page 30 of 39 Document 80-18
Case 2:16-cv-01089-WED Filed 04/22/19 Page 31 of 39 Document 80-18
Case 2:16-cv-01089-WED Filed 04/22/19 Page 32 of 39 Document 80-18
Case 2:16-cv-01089-WED Filed 04/22/19 Page 33 of 39 Document 80-18
                   BOARD OF FIRE AND POLICE COMMISSIONERS
                         OF THE CITY OF MILWAUKEE




  In the Matter of the Appeal of Shannon Lewandowski MPD Personnel Order 2015-150


     DECISION AND ORDER DENYING APPELLANT'S MOTION TO SUPPRESS




       Lewandowski has filed a motion to suppress any statement she made prior to April 9,

2015, the date on which she was served with a PI-21. She claims that statements made by her

before that date were the products of unlawful interrogations under Wis. Stat sec. 164.02(1), and

should be excluded under Wis. Stat sec. 164.02(2).

       Wis. Stat sec. 164.02, entitled "Interrogation" states:

       (1) lf a law enforcement officer is under investigation and is subjected to interrogation
       for any reason which could lead to disciplinary action, demotion, dismissal or criminal
       charges, the interrogation shall comply with the following requirements:

           (a) The law enforcement officer under investigation shall be informed ofthe nature of
               the investigation prior to any interrogation.

           (b) At the request of any law enforcement officer under interrogation, he or she may
               be represented by a representative of his or her choice who, at the discretion of the
               officer, may be present at all times during the interrogation.

       (2) Evidence obtained during the course of any interrogation not conducted in
       accordance with sub. (I) may not be utilized in any subsequent disciplinary proceeding
       against the law enforcement officer.

       The dispute between the parties is over the nature of the conversation between

Lewandowski and Police Lieutenant Sean Hanley on the morning of January 19, 2015.

Lewandowski maintains that the conversation was an investigatory interview subject to the




     Case 2:16-cv-01089-WED Filed 04/22/19 Page 34 of 39 Document 80-18
provisions of Wis. Stat. sec. 164.02, whereas Hanley maintains the purpose of the conversation

was to complete the squad accident Incident Report (Ex. 2).

       On January 19, 2015, at 2:17 A.M., Lewandowski, while driving a squad car, was

involved in an on-duty squad accident that resulted in serious injuries to her and others. Prior to

the accident, her partner, who was the squad passenger, had been assigned to recover a firearm

that had been used in a shooting incident. Although Lewandowski had volunteered to assist in

the firearm recovery assignment, at the time of the accident she was not going to the location of

the fuearm. She was going to District Five Station to assist an officer with a personal issue.

       Hanley was assigned to investigate the accident and file an Incident Report.

Lewandowski, aware that Hanley wanted to speak to her, called him at 6:38 A.M. to tell him

how the accident had occurred. She told him that shortly before the accident, her son had called

and told her that he had been stopped by the University of Wisconsin (UWM) Police

Department. She then commenced driving to UWM to find her son. She told Hanley she turned

on the emergency lights to make cars get out of her way and not to operate as an emergency

vehicle.

       Hanley noted in the Incident Report that he assigned two detectives to the scene to

interview witnesses because of the serious injuries involved and "due to the possibility of

violations of Rules and Regulations and SOP." (Ex. 2, p. 6) Three days later, on January 22,

2015, the report was reviewed by Captain Johrmy Sgrignuoli who added a note to the Incident

Report stating his concern that Lewandowski and her partner were not responding to the shooting

follow-up to which they had been assigned, but were operating the squad with emergency lights

on to respond to a personal matter, and that Lewandowski was exceeding the speed limit to either

visit a police officer friend at District Five or her son who had been stopped by UWM police. He




                                       2
     Case 2:16-cv-01089-WED Filed 04/22/19 Page 35 of 39 Document 80-18
recommended further investigation and on January 29, 2015, the matter was assigned to the

Internal Affairs Division for a District Level investigation. (Ex. 2, p.4) A PI-21 was served on

her onApril9, 2015.

       When Lewandowski called Hanley, he was conducting an accident investigation and not

an investigation that was directed at disciplining Lewandowski. Although he notes in the

Incident Report that he had assigned two detectives to interview witnesses because of the serious

nature of the injuries and the "possibility" that department rule violations may have occurred, his

report narrative makes no reference to any rule violations. It merely states the facts he had

gathered. (Ex. 2, pp. 5-6) There is no mention of any specific conduct that might have violated

department rules until January 22, 2015, when Capt. Sgrignuoli reviewed the report and noted

his concern that Lewandowski was not responding as assigned, but attending to personal

business, had misused the squad's emergency lights, and was speeding. He then referred the

matter to Internal Affairs to investigate further her conduct. (Ex. 2, p. 4). Lewandowski states in

her initial brief at page 3 that she was not informed by Hanley that she was the subject of an

Internal Affairs investigation. As here noted, however, no Internal Affairs investigation had been

commenced until a later date, and Hanley neither initiated the Internal Affairs investigation nor

did he ever put to her a question as part of that investigation. (Ex. 2, p.4; Hanley Affidavit)

       Lewandowski argues that the term "interrogation," as used in Wis. Stat. 164.02(1),

should be defined so broadly as to include the Lewandowski conversation, and cites NLRB v.

Weingarten, Inc., 420 U.S. 251 (1975), and Rhode Island v. Innis, 64 U.S. 291 (1980), to support

her argument. Neither case, however, supports Lewandowski's argument.

        Weingarten held that an employer's refusal to grant an employee's request that a union

representative be present at an investigatory interview which the employee reasonably believed




                                                  3
     Case 2:16-cv-01089-WED Filed 04/22/19 Page 36 of 39 Document 80-18
might result in discipline constituted an unfair labor practice under chapter 7 of the National

Labor Relations Act. The Chiefs counsel correctly points out that neither Weingarten nor the

NLRA are applicable to this case because the NLRA does not apply to a State or a political

subdivision of a state. 29 U.S.C. sec. 152(3).

       Lewandowski argues the Legislature m adopting Wis. Stat. sec 164.02, codified

Weingarten. The difference between Wis. Stat. 164.02, and the holding in Weingarten do not

support the argument that the Legislature intended to adopt all of Weingarten. Wis. Stat. 164.02,

applies to officers "under investigation" and "subject to interrogation . . .which could lead to

discipline." Whereas, Weingarten applies to an investigatory interview in which the employee

reasonably believes might result in discipline. No Wisconsin court has held that the Legislature

intended to adopt all of Weingarten and at least one other court has declined to interpret a state

police officers' bill of right as a wholesale adoption of Weingarten. Town of North Kingstown v.

Local473, 819 A.2d 1274 (R.I., 2003).

       Rhode Island v. Innis, 64 U.S. 291 (1980) is a criminal case that did not define the term

"interrogation" in general. It held, rather, that an "interrogation" under Miranda refers "to any

word or actions on the part of police... that the police should know are reasonably likely to elicit

an incriminating response for the suspect." That broad definition, however, applies only in the

context of an arrest. Moreover, Innis addressed words or actions that elicit incriminating

responses from suspects as opposed to words or actions that elicit admissions of work rule

violations

       The Miranda safeguards come into play whenever a person in custody is subject to either

express questioning or its equivalent. 100 U.S. at 300-301. The act of taking a person into

custody creates a bright line for police that alerts them when Miranda rights attach. The




                                                 4
     Case 2:16-cv-01089-WED Filed 04/22/19 Page 37 of 39 Document 80-18
relationship between police supervisors and officers is remarkably different from the relationship

between a suspect and an arresting officer. A supervisor is charged with managing,

administering, and evaluating the work of officers. Discussions, conversations, questioning,

report writing, and reporting to their superiors about the work of the officers under them are part

and parcel of their daily activities. To suggest that the rules governing the questioning of a

suspect in police custody should apply to the routine interactions among officers and their

supervisors would not only undermine, but would practically destroy the ability of supervisors to

perform their duties. If anything, the need for a bright line drawn in Miranda supports the

interpretation that Wis. Stat. 164.02, only applies after a PI-21 has been served on the officer.

That interpretation would create the same bright line in the context of police discipline as

custody creates in the criminal context.

       Finally, we note that Innis held that even in the criminal context, "police officers cannot

be held accountable for the unforeseen results of their words or actions, the definition of

interrogation can extend only to words or actions on the part of police officers that they should

have known were reasonably likely to elicit an incriminating response." 446 U.S. at 302,

emphasis in the original. Any discussion between a police supervisor and a police officer raises

the possibility that a rule violation might be uncovered. That possibility is not sufficient to

invoke the provisions of Wis. Stat. sec 164.02.

       When Lewandowski called Hanley, he was conducting an accident investigation and not

an investigation that was directed at disciplining Lewandowski. No Internal Affairs investigation

had been commenced. Hanley was conducting an accident investigation and was not asking

questions to elicit an admission of a rule violation. In this context, the possibility that an answer




                                      5
     Case 2:16-cv-01089-WED Filed 04/22/19 Page 38 of 39 Document 80-18
might uncover a rule violation is not sufficient to invoke the provisions of Wis. Stat. sec. 164.02.

Lewandowski's motion to suppress is therefore denied.



Signed and dated at Milwaukee, Wisconsin this 19th day of May, 2016




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                                              On Behalf of the Board
                                              Milwaukee Fire and Police Commission




                                                 6
     Case 2:16-cv-01089-WED Filed 04/22/19 Page 39 of 39 Document 80-18
